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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,

                 v.                                                MEMORANDUM AND ORDER
                                                                   14-CR-553-2 (WFK)
LORENZO MCALLISTER,

                                  Defendant.
-----------------------------------------~--------------------){
WILLIAM F. KUNTZ, II, United States District Judge:

        On May 27, 2015, Defendant Lorenzo McAllister ("Defendant") pied guilty to Hobbs Act
 Robbery. ECF No. 40 ("Guilty Plea"). The Court now provides a complete statement of reasons
 pursuant to 18 U.S.C. § 3553(c) of those factors set forth by Congress and the President and
 contained in 18 U.S.C. § 3553(a). For the reasons stated below, Defendant is hereby sentenced.

                                              BACKGROUND

        On October 15, 2014, Defendant was charged by an Indictment with (1) Hobbs Act

 Robbery Conspiracy under 18 U.S.C. §§ 1951(a), 2, and 3551 et seq. ("Count One"); Hobbs Act

 Robbery under 18 U.S.C. §§ 1951(a), 2, and 3551 et seq. ("Count Two"); and Brandishing of a

 Firearm During a Crime of Violence under 18 U.S.C. §§ 924(c)(l)(A)(ii), 2, and 3551 et seq.

 ("Count Three"). ECF No. 16 ("Indictment") at 1-2. On May 27, 2015, Defendant pied guilty to

 Count Two of the Indictment. See Guilty Plea at 1.

        For the reasons set forth below, the Court sentences Defendant and sets forth its reasons

 for Defendant's sentence using the rubric of the Section 3553(a) factors pursuant to 18 U.S.C. §

 3553(c)(2).

                                               DISCUSSION

 I.     Legal Standard

        18 U.S.C. § 3553 outlines the procedures for imposing sentence in a criminal case. When

the District Court chooses to impose a sentence outside of the Sentencing Guidelines range, the




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 Court "shall state in open court the reasons for its imposition of the particular sentence, and ...

 the specific reason for the imposition of a sentence different from that described" in the

 Guidelines. 18 U.S.C. § 3553(c)(2). The Court must also "state[] with specificity" its reasons

 for so departing "in a statement of reasons form[.]" Id

        "The sentencing court's written statement of reasons shall be a simple, fact-specific

 statement explaining why the guidelines range did not account for a specific factor or factors

 under [Section] 3553(a)." United States v. Davis, 08-CR-332, 2010 WL 1221709, at *1

 (E.D.N.Y. Mar. 29, 2010) (Weinstein, J.) (internal quotation marks and citation omitted). 18

 U.S.C. § 3553(a) provides a list of reasons for the Court to consider in choosing what sentence to

 impose on a criminal defendant. Specifically, Section 3553(a) states "[t]he court, in determining

 the particular sentence to be imposed, shall consider[:]"

        (1) the nature and circumstances of the offense and the history and characteristics
        of the defendant;
        (2) the need for the sentence imposed--
            (A) to reflect the seriousness of the offense, to promote respect for the law,
            and to provide just punishment for the offense;
            (B) to afford adequate deterrence to criminal conduct;
            (C) to protect the public from further crimes of the defendant; and
            (D) to provide the defendant with needed educational or vocational training,
            medical care, or other correctional treatment in the most effective manner;
        (3) the kinds of sentences available;
        (4) the kinds of sentence and the sentencing range established for--
            (A) the applicable category of offense committed by the applicable category
            of defendant as set forth in the guidelines--
                (i) issued by the Sentencing Commission pursuant to section 994(a)(l) of
                title 28, United States Code, subject to any amendments made to such
                guidelines by act of Congress (regardless of whether such amendments
                have yet to be incorporated by the Sentencing Commission into
                amendments issued under section 994(p) of title 28); and
                (ii) that, except as provided in section 3742(g), are in effect on the date the
                defendant is sentenced; or
            (B) in the case of a violation of probation or supervised release, the applicable
            guidelines or policy statements issued by the Sentencing Commission
            pursuant to section 994(a)(3) of title 28, United States Code, taking into
            account any amendments made to such guidelines or policy statements by act



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              of Congress (regardless of whether such amendments have yet to be
              incorporated by the Sentencing Commission into amendments issued under
              section 994(p) of title 28);
          (S) any pertinent policy statement--
              (A) issued by the Sentencing Commission pursuant to section 994(a)(2) of
              title 28, United States Code, subject to any amendments made to such policy
              statement by act of Congress (regardless of whether such amendments have
              yet to be incorporated by the Sentencing Commission into amendments issued
              under section 994(p) of title 28); and
              (B) that, except as provided in section 3742(g), is in effect on the date the
              defendant is sentenced.
          (6) the need to avoid unwarranted sentence disparities among defendants with
          similar records who have been found guilty of similar conduct; and
          (7) the need to provide restitution to any victims of the offense.

          The Court addresses each of the 18 U.S.C. § 3553(a) factors in turn.

 II.      Analysis

       1. The Nature and Circumstances of the Offense and the History and
          Characteristics of the Defendant

          The first 18 U.S.C. § 3553(a) factor requires the Court to evaluate "the nature and

 circumstances of the offense and the history and characteristics of the [D]efendant." 18 U.S.C. §

 3553(a)(l). Proceeding chronologically, the Court addresses first the history and characteristics

 of the Defendant and then the nature and circumstances of the offense. Based on these factors, a

 significant sentence is justified.

             a. History and Characteristics of Defendant

          Defendant was born on August 22, 1992, in Brooklyn, New York. ECF No. 43

 ("PSR") if 35. He attended school through the 12th grade. Id if 47. He has never had a

 significant relationship with his father, and his mother abandoned him when he was

 seventeen years old. Id ~ 35. Defendant has no children and has never been married, but

 he has been in a committed relationship since 2009. Id~ 38. He reported to Pretrial




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 Services that he smokes marijuana and consumes large amounts of liquor on a daily

 basis. Id , 44.

        Defendant's criminal record dates back to his teenage years. In 2008, at age

 sixteen, Defendant was convicted of fare jumping at a New York City subway station.

 Id if 26. He was sentenced in Queens County Criminal Court to a conditional discharge

 and three days of community service. Id.

        In 2011, Defendant was convicted in Queens County Supreme Court of Grand

 Larceny in the Fourth Degree. Id if 27. Id Probation documents indicated that New

 York Police Department (''N.Y.P.D.") officers arrested Defendant after they found him

 driving a vehicle that had been reported stolen. Id Defendant was sentenced to four

 years of incarceration and an order of protection. Id.

        Defendant was also convicted of two counts of Robbery in the Second Degree in

 Queens County Criminal Court on October 11, 2011. Id ifif 28-29. According to court

 records, Defendant and another individual robbed two different convenience stores at

 gunpoint on March 1, 2010, and December 9, 2010. Id Defendant was sentenced to

 forty-two months of incarceration for each count, set to run concurrently with the term of

 imprisonment imposed on his prior conviction for Grand Larceny. Id Defendant was

 also sentenced to thirty months of post-release supervision for each count. Id

        During his prison sentence, Defendant completed a six-month alcohol and

 substance abuse treatment program and a high school equivalency program. Id , 27. He

 was granted parole on March 3, 2014, after three years of custody. Id Defendant was

 arrested for the instant offense on September 16, 2014. Id. His parole was set to expire

 on September 3, 2016. Id




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            b. Nature and Circumstances of the Offense

        According to the Presentence Investigation Report filed in this case, Defendant was

 involved in the robbery of a 7-Eleven convenience store in Flushing, New York with co-

 defendants Arthur Lilly and Joseph Pena. Id if 3. On September 16, 2014, the three defendants,

 wearing hooded sweatshirts and obscuring their faces with masks and bandanas, entered the 7-

 Eleven and confronted a customer and the store clerk. Id. One of the defendants brandished a

 loaded Mossberg 500A pistol grip pump-action 12-gauge shotgun. Id The defendants took the

 customer's identification card and cell phone at gunpoint, then forced the store clerk to open the

 cash register and give them its contents, amounting to $304. Id They also stole an unspecified

 amount of lottery tickets and the store owner's Coach purse containing an identification card,

 two credit cards, and $102. Id After the defendants fled the scene in a car, the victims called

 911 and reported the incident. Id if 4.

        N.Y.P.D. officers responded to the 911 call and attempted to stop the defendants' vehicle,

 which matched the description provided by the victims. Id The defendants refused to pull over

 and led the police on a high-speed chase, weaving in and out of traffic at speeds approaching

 one-hundred and twenty miles per hour. Id At one point during the chase, one of the defendants

 threw the Coach purse out of the window of their car. Id The chase lasted twenty minutes,

 ending when the defendants crashed their car into the f~ade of a grocery store. Id As the

 defendants exited the vehicle, it burst into flames. Id They attempted to run, but were promptly

 apprehended by the police and arrested. Id Officers recovered the Mossberg shotgun and stolen

 lottery tickets from the wreckage of the defendants' car. Id if 5. The grocery store into which

 defendants crashed sustained $35,946. 72 worth of damage. Id if 7.

    2. The Need for the Sentence Imposed




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        The second 18 U.S.C. § 3553(a) factor instructs the Court to consider "the need for the

 sentence imposed (A) to reflect the seriousness of the offense, to promote respect for the law,

 and to provide just punishment for the offense; (B) to afford adequate deterrence to criminal

 conduct; (C) to protect the public from further crimes of the defendant; and (D) to provide the

 defendant with needed educational or vocational training, medical care, or other correctional

 treatment in the most effective manner." 18 U.S.C. § 3553(a)(2). The Court addresses each

 subsection in turn.

            a. Reflecting the Seriousness of the Offense, Promoting Respect for the Law,
               and Providing Just Punishment

        The Court finds that a significant sentence is necessary to accomplish the purposes of

 reflecting the seriousness of the offense, promoting respect for the law, and providing just

 punishment. See 18 U.S.C. § 3553(a)(2)(A).

        Defendant's crime is severe: he committed armed robbery, placing two innocent lives in

jeopardy. See Enmundv. Florida, 458 U.S. 782, 797 (1982) ("We have no doubt that robbery is

 a serious crime deserving serious punishment."). Furthermore, Defendant recklessly endangered

the lives of countless bystanders and police officers by leading the N.Y.P.D. on a high-speed car

 chase through the streets ofNew York City. When he ultimately crashed his vehicle into a

 grocery store, he placed customers' lives at risk and caused thousands of dollars of damage.

Defendant's sentence will satisfy the purpose of the Hobbs Act to ''use all the constitutional

power Congress has to punish interference with interstate commerce by extortion, robbery, or

physical violence." Stirone v. United States, 361U.S.212, 215 (1960).

            b. Affording Adequate Deterrence to Criminal Conduct

        "Under section 3553(a)(2)(B), there are two major considerations: specific and general

deterrence." Davis, 2010 WL 1221709 at *2. The Court finds that a significant sentence of



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 incarceration is necessary to afford adequate deterrence, both specific and general, to criminal

 conduct. See 18 U.S.C. § 3553(a)(2)(B).

        Regarding specific deterrence, Defendant is a young man who has spent the majority of

 his nascent adulthood committing armed robbery. He spent three years in prison for robbing two

 convenience stores, and now, only six months after his release, Defendant has robbed a third

 store. Defendant's continued criminal conduct after multiple convictions indicates that he is in

 need of lengthy incapacitation to deter him from persisting along this path. See United States v.

Park, 158 F.3d 193, 201 (2d Cir. 2014) (noting particular need for incapacitation and specific

 deterrence given defendant's continued criminal activity after prior convictions). Regarding

 general deterrence, a serious sentence will send a clear message that any involvement in Hobbs

Act robbery will result in a significant period of incarceration.

            c. Protecting the Public from Further Crimes of the Defendant

        Defendant personifies an ongoing danger to the public. He is a repeat offender whose

 armed robberies routinely place innocent bystanders in peril. The only way to protect the public

 from Defendant's continued pursuit of criminal conduct is to incarcerate him for a significant

period of time.

            d. Providing Defendant with Needed Educational or Vocational Training,
               Medical Care, or Other Correctional Treatment in the Most Effective
               Manner

        Defendant does not require additional educational or vocational training, medical care, or

 other correctional treatment. Accordingly, this factor is irrelevant.

    3. The Kinds of Sentences Available

        The third 18 U.S.C. § 3553(a) factor requires the Court to discuss "the kinds of sentences

available" for Defendant. 18 U.S.C. § 3553(a)(3).




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         Defendant pied guilty to Hobbs Act Robbery under 18 U.S.C. § 195l(a). See Guilty Plea

 at 1. This count carries a maximum imprisonment term of twenty years, 18 U.S.C. § 1951(a),

 and a maximum supervised release period of three years, 18 U.S.C. § 3583(b)(2). In addition,

 because this Count is a Class C Felony, Defendant is subject to between one and five years of

 probation with one or more of the following conditions: a fine, restitution, or community

 service. 18 U.S.C. §§ 356l(c)(l), 3563(a)(2). This Count also carries a maximum fine of

 $250,000.00, 18 U.S.C. § 3571(b), and a mandatory special assessment of $100.00, 18 U.S.C. §

 3013. Restitution is required in the amount of $36,250.72, which includes the $35,946.72 owed

 to the grocery store's insurance company and the $304 owed to the owner of the 7-Eleven

 convenience store. 18 U.S.C. § 3663. Accordingly, the Court's sentence falls within the kinds

 of sentences available to Defendant.

    4. The Kinds of Sentence and the Sentencing Range Established For Defendant's
       Offenses

        The fourth 18 U.S.C. § 3553(a) factor requires the Court to detail "the kinds of sentence

 and the sentencing range established forD the applicable category of offense committed by the

 applicable category of defendant as set forth in the guidelines (i) issued by the Sentencing

 Commission pursuant to section 994(a)(l) of title 28, United States Code, subject to any

 amendments made to such guidelines by act of Congress (regardless of whether such

 amendments have yet to be incorporated by the Sentencing Commission into amendments issued

 under section 994(p) of title 28); and (ii) that, except as provided in section 3742(g), are in effect

 on the date the defendant is sentenced[.]" 18 U.S.C. § 3553(a)(4)(A).

        Defendant has a base offense level of twenty pursuant to Guideline 2B3 .1, which governs

 robbery convictions. U.S. Sentencing Guidelines Manual§ 2B3.1 (U.S. Sentencing Comm'n

 2015) ("U.S.S.G."). Five offense levels are added because the robbery involved the brandishing



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 of a firearm. Id § 2B3.l(b)(2)(C). A one-level enhancement is warranted because the offense

 involved a loss of $36,352.72. Id § 2B3.l(b)(7)(B). Additionally, two offense levels are added

 because the Defendant recklessly created a substantial risk of death or serious injury to the

 general public in the course of fleeing from law enforcement. Id§ 3Cl.2. Because Defendant

 demonstrated acceptance of responsibility for the offense and pied guilty in a timely manner, a

 decrease of three offense levels is permitted by the guidelines. Id §§ 3El.l(a), 3El.l(b).

          Taking all adjustments into account, Defendant's offense level is twenty-five. PSR 124.

 With a criminal history category of IV, Defendant's guidelines sentencing range is eighty-four to

 one-hundred and five months. U.S. Sentencing Guidelines Manual Sentencing Table (U.S.

 Sentencing Comm'n 2015). Defendant is eligible for a supervised release term of one to three

 years. U.S.S.G. § 5Dl.2(a)(2). Defendant is ineligible for probation because the applicable

 guidelines range is in Zone D of the Sentencing Table. Id § 5Bl.l, comment (n.2). The

 guidelines suggest a fine in the range of$10,000 to $100,000. Id § 5El.2(c)(3). Costs of

 prosecution shall be considered in determining whether to impose a fine. See id § SE1.5; PSR ,

 70.

       5. Pertinent Policy Statement(s) of the Sentencing Commission

          The fifth 18 U.S.C. § 3553(a) factor requires the Court to evaluate "any pertinent policy

 statement[] issued by the Sentencing Commission pursuant to section 994(a)(2) of title 28,

 United States Code, subject to any amendments made to such policy statement by act of

 Congress (regardless of whether such amendments have yet to be incorporated by the Sentencing

 Commission into amendments issued under section 994(p) of title 28); and Othat, except as

 provided in section 3742(g), is in effect on the date the defendant is sentenced." 18 U.S.C. §

 3553(a)(5).




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        Policy Statement § SHI .8, in conjunction with § 4Al .3, provides that a defendant's

 criminal history may warrant an upward departure if reliable information indicates that the

 defendant's criminal history category substantially underrepresents the seriousness of the

 defendant's criminal history or the likelihood that the defendant will commit other crimes.

 U.S.S.G. §§ 5Hl.8, 4Al.3(a). Defendant was sentenced for his second robbery conviction on the

 same day as his first, and therefore received only one criminal history point for the conviction

 pursuant to Guideline§ 4Al.l(e). See PSR, 29; U.S.S.G. § 4Al.l(e). Such a conviction would

 normally contribute three criminal history points. See U.S.S.G. §§ 4Al.l(a); 4Al.2(e)(l). Also,

 because of the ultimate disposition of Defendant's 2008 conviction for fare jumping, it did not

 provide any criminal history points under the guidelines analysis. See PSR 1f 26. Accordingly,

 an upward departure would be warranted in this case.

    6. The Need to Avoid Unwarranted Sentence Disparities

        The sixth 18 U.S.C. § 3553(a) factor requires the Court to consider ''the need to avoid

 unwarranted sentence disparities among defendants with similar records who have been found

 guilty of similar conduct." 18 U.S.C. § 3553(a)(6).

        Defendant pied guilty to Hobbs Act Robbery, which carries a maximum imprisonment

 term of twenty years of incarceration. See Guilty Plea at 1; 18 U.S.C. § 195l(a). The sentence

 imposed by this court, is not beyond the pale for Defendant's crime, and avoids disparities with

 other federal sentences which recognize the severity of such a crime.

        In addition, "[t]he New York state statute, while not directly applicable, provides a useful

 indication of how this crime would be treated" under state law. United States v. Fe"anti, 928 F.

 Supp. 206, 214 (E.D.N.Y. 1996) (Weinstein, J.). The New York state analog to Defendant's

 crime is Robbery in the First Degree, which carries a sentence of one to twenty-five years of




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                                               s/ WFK
